     Case 21-41120      Doc 27     Filed 11/01/21 Entered 11/01/21 23:37:10         Desc Main
                                    Document     Page 1 of 17


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Ballout Real Estate, LLC


                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 IN RE:                                            §
                                                   §
 GREG N. WISNER AND                                § Case No. 21-41120
 DANA P. WISNER,                                   § Chapter 7
                                                   §
          Debtors,                                 §
                                                   §
                                                   §
 BALLOUT REAL ESTATE, LLC                          §
                                                   §
          Plaintiff,                               §
                                                   §
 v.                                                § Adv. P. No. _____________________
                                                   §
 GREG N. WISNER AND                                §
 DANA P. WISNER,                                   §
                                                   §
          Defendants.                              §

                               PLAINTIFF’S ORIGINAL COMPLAINT

         Plaintiff Ballout Real Estate, LLC (“Plaintiff”) files its Original Complaint against

Defendants Greg N. Wisner and Dana P. Wisner (“Defendants”), debtors in the underlying

bankruptcy proceeding, as follows:

                                        I.      PARTIES

1.       Plaintiff Ballout Real Estate, LLC is a Texas limited liability company doing business in

         Texas.


PLAINTIFF’S ORIGINAL COMPLAINT – Page 1
     Case 21-41120     Doc 27       Filed 11/01/21 Entered 11/01/21 23:37:10          Desc Main
                                     Document     Page 2 of 17



2.       Defendant Greg N. Wisner is an individual residing in the boundaries of the Eastern District

         of Texas. Said Defendant can be served with summons and this complaint at 1590

         Cottonwood Trail, Prosper, Texas 75078 or wherever he may be found.

3.       Defendant Dana P. Wisner is an individual residing in the boundaries of the Eastern District

         of Texas. Said Defendant can be served with summons and this complaint at 1590

         Cottonwood Trail, Prosper, Texas 75078 or wherever she may be found.

                              II.     JURISDICTION AND VENUE

4.       This Court has subject matter jurisdiction over the claims presented herein pursuant to 28

         U.S.C. §§ 1334(b) and 157. The claims asserted herein concern the administration of the

         Debtors’ bankruptcy estate and is, therefore, a core proceeding pursuant to 28 U .S.C. §

         157(b)(2)(A). Venue is proper for this Complaint pursuant to 28 U.S.C. § 1409.

                               III.    FACTUAL BACKGROUND

5.       Defendant Greg N. Wisner (“Greg Wisner”) and Dana P. Wisner (“Dana Wisner”) are the

         principals or owners of various businesses including G Wise Group, LLC (“G Wise

         Group”) and GWise Developments Limited Liability Company (“GWise Developments”)

         (G Wise Group and GWise Developments are collectively referred to herein as “GWise”).

6.       Plaintiff Ballout Real Estate LLC (“Ballout”) owns commercial property at 2411 Sam

         Rayburn Highway, Melissa, Texas 75454 (the “Melissa Property”) and at 7800 Rowlett

         Road, Rowlett, Texas 75089 (the “Rowlett Property”).

7.       Ballout hired Greg Wisner through his company GWise to serve as the general contractor

         on a construction project at the Melissa Property (the “Melissa Project”) and the Rowlett

         Property (the “Rowlett Project”) (collectively, the “Projects”).




PLAINTIFF’S ORIGINAL COMPLAINT – Page 2
     Case 21-41120     Doc 27      Filed 11/01/21 Entered 11/01/21 23:37:10          Desc Main
                                    Document     Page 3 of 17



8.       Greg Wisner and GWise subcontracted out certain work on the Melissa Project to Patriot

         Concrete, Inc. (“Patriot Concrete”).

9.       Greg Wisner, claiming to be acting on behalf of GWise, then contracted with Patriot

         Concrete to pave an area of the land at the Melissa Project in exchange for $92,943.45.

10.      GWise Group had forfeited its existence with the Texas Secretary of State as of February

         8, 2013. Therefore, pursuant to Texas Law, Greg Wisner was contracting with Patriot

         Concrete individually and/or through GWise Developments.

11.      Pursuant to the said agreement, Greg Wisner and/or GWise were to pay Patriot Concrete

         $92,943.45 upon delivery of the concrete.

12.      Patriot Concrete delivered the concrete, but neither GWise nor Greg Wisner paid Patriot

         Concrete for the concrete.

13.      On or around February of 2020, the bid was accepted by Ballout and contracts were

         executed to commence work on the Properties. Dana Wisner is the Member of the GWise

         Developments.

14.      Ballout provided approximately $1.8 million to Defendant GWise Developments to

         commence work on the Properties.

15.      GWise, a close-knit family business, began to defraud and appropriate monies received

         from Plaintiff over a span of a year.

16.      Defendants were in direct communication with Ballout regarding the progress of the

         Projects.

17.      Defendants submitted frequent invoices to Ballout for expenses that GWise allegedly paid

         to subcontractors and for materials and represented such invoices to be accurate and true,




PLAINTIFF’S ORIGINAL COMPLAINT – Page 3
  Case 21-41120     Doc 27     Filed 11/01/21 Entered 11/01/21 23:37:10           Desc Main
                                Document     Page 4 of 17



      which later was discovered to be false as subcontractors were not being paid as represented

      by Defendants.

18.   For example, on several occasions Defendants sent requests for preorder materials under

      the false pretense that payment had to be provided in advance to secure the materials for

      construction, which was untrue.

19.   The Defendants thus perpetuated their scheme to defraud Plaintiff by maximizing funds

      being collected from Ballout by falsely misrepresenting to Ballout that funds were being

      paid to GWise vendors, subcontractors, and materials for work on the Projects. Ballout

      reasonably relied on Defendants’ false and misleading representations to Ballout’s

      detriment.

20.   It was not until vendors and subcontractors began filing liens for nonpayment that Ballout

      discovered that these parties had not been paid by Defendants, despite Defendants’

      representations and assurances that they had been paid.

21.   Defendants have not provided Ballout with an accounting as to how Ballout’s monies have

      been expended.

22.   Patriot Concrete sued Greg Wisner and GWise in Cause No. 471-02547-2021 in the 471st

      Judicial District Court of Collin County, Texas (the “Collin County Lawsuit”) for claims

      including breach of contract, unjust enrichment, quantum meruit, promissory estoppel,

      violations of the Texas Prompt Payment Act, and Fraud (Fraudulent Inducement). See

      Exhibit 1 (Plaintiff’s Original Petition) attached hereto and incorporated herein by

      reference.

23.   Greg Wisner and G Wise, although duly and legally cited to appear and answer the Collin

      County Lawsuit, wholly made default. Therefore, by such default, Greg Wisner and G Wise




PLAINTIFF’S ORIGINAL COMPLAINT – Page 4
  Case 21-41120     Doc 27     Filed 11/01/21 Entered 11/01/21 23:37:10              Desc Main
                                Document     Page 5 of 17



      were found by the state court to have admitted the allegations in the Plaintiff’s Original

      Petition filed by Patriot Concrete in the Collin County Lawsuit.

24.   On July 6, 2021, judgment was entered in favor of Patriot Concrete and against Greg

      Wisner and G Wise in the Collin County Lawsuit. See Exhibit 2 (Interlocutory Default

      Judgment against Greg Wisner and GWise Developments) attached hereto and

      incorporated herein by reference. The judgment provided as follows:

             On the 6th day of June, 2021, came on to be heard in the above-entitled and
             numbered case PATRIOT CONCRETE, INC.’s (“Plaintiff”) Motion for
             Default Judgment against G WISE DEVELOPMENTS, LLC
             (“Developments”) and GREGORY WISNER (“Wisner”). After reviewing
             the motion and the pleadings on file, the Court GRANTS the Motion for
             Default Judgment against Developments and Wisner and the Court
             RENDERS default judgment for Plaintiff on an interlocutory basis.

             Developments and Wisner, although duly and legally cited to appear and
             answer, wholly made default. The Court is of the opinion that Developments
             and Wisner, by their defaults, admitted the allegations in Plaintiff’s Original
             Petition filed in 471-02547-2021.

             The Court finds that Developments and Wisner breached their valid contract
             with Plaintiff.

             The Court finds that Developments and Wisner were unjustly enriched by
             the provision of concrete by Plaintiff that was never paid for.

             The Court finds that Developments and Wisner are liable to Plaintiff for
             quantum meruit for the provision of concrete that Developments and Wisner
             accepted yet never paid for.

             The Court finds that Developments and Wisner are liable to Plaintiff for
             promissory estoppel for making promises that Plaintiff relied on to
             Plaintiff’s detriment.

             The Court finds that Developments and Wisner are liable to Plaintiff for
             violating the Texas Prompt Payment Act.

             The Court finds that Developments and Wisner are liable to Plaintiff for
             fraud.

             The Court finds that Plaintiff has elected to recover against Developments
             and Wisner for fraud.



PLAINTIFF’S ORIGINAL COMPLAINT – Page 5
  Case 21-41120      Doc 27    Filed 11/01/21 Entered 11/01/21 23:37:10           Desc Main
                                Document     Page 6 of 17



              IT IS, THEREFORE, ORDERED, ADJUDGED, AND DECREED that
              Plaintiff’s Motion for Default Judgment against Developments and Wisner
              is GRANTED.

              IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that the
              material allegations of Plaintiff’s Original Petition be, and the same are,
              deemed admitted.

              IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Plaintiff
              recover from Developments and Wisner benefit of the bargain damages in
              the sum of $92,943.45.

              IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Plaintiff
              recover from Developments and Wisner exemplary damages for fraud in
              the amount of $278,830.35, representing three times the benefit of the
              bargain damages.

              IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Plaintiff
              recover from Developments and Wisner post-judgment interest at the rate
              of 5% per annum from on the date this Default Judgment is signed until the
              total amount of the Default Judgment is paid in full.

              IT IS FURTHER ORDERED, ADJUDGED AND DECREED that $329.00
              of Plaintiff’s costs and $160.00 in service costs are hereby taxed against
              Developments and Wisner.

              IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Plaintiff
              shall be able to abstract this judgment immediately.

              SIGNED [on] 7/6/2021.

25.   Also, on July 6, 2021, a similar judgment was entered in favor of Patriot Concrete against

      G Wise Group. See Exhibit 3 (Interlocutory Default Judgment against G Wise Group)

      attached hereto and incorporated herein by reference.

26.   Patriot Concrete also brought suit against Ballout in the Collin County Lawsuit to collect

      payment for work on the for alleged nonpayment after Greg Wisner and GWise failed to

      pay Patriot Concrete for their work.

27.   Ballout ultimately entered into a monetary settlement agreement with Patriot Concrete and

      settled their claims.




PLAINTIFF’S ORIGINAL COMPLAINT – Page 6
  Case 21-41120      Doc 27        Filed 11/01/21 Entered 11/01/21 23:37:10        Desc Main
                                    Document     Page 7 of 17



28.   As part of the parties’ settlement agreement, Patriot Concrete entered into an Assignment

      of Default Judgments agreement with Ballout in which Patriot Concrete - in exchange for

      a $35,000 payment and other good and valuable consideration from Ballout - assigned,

      transferred, set over, delivered, and conveyed to Ballout all of Patriot Concrete’s rights,

      title, benefits, interest, and privileges under the two default judgments attached hereto as

      Exhibits 2 and 3. As a result of such assignment, Plaintiff has standing to bring the claims

      herein against Defendants.

29.   Defendants have obtained ill-gotten gains from the fraudulent billing and collections

      practices explained above, which Defendants collectively and jointly perpetrated against

      Ballout resulting in Ballout over-paying substantial sums of money and the unjust

      enrichment of Defendants.

30.   By the Summer of 2020, Defendants and their companies were subjected to substantial

      claims and liabilities, so the Defendants embarked on a scheme to fraudulently transfer

      assets to avoid creditors.

31.   On or about July 15, 2020, Defendants utilized part of their ill-gotten gains from Ballout

      discussed above to purchase a brand new, luxurious house located at 1590 Cottonwood

      Trail, Prosper, Texas 75078 in Collin County, Texas (“the Defendant’s Property”).

32.   Defendant’s Property is approximately 3,657 square feet with 4 bedrooms, 4.5 baths, and

      a 3-car garage on 0.28 acres.

33.   Upon information and belief, Defendants paid over $730,000.00 to purchase the

      Defendant’s Property, of which approximately $510,400.00 was financed and the

      remainder paid in cash.




PLAINTIFF’S ORIGINAL COMPLAINT – Page 7
  Case 21-41120         Doc 27   Filed 11/01/21 Entered 11/01/21 23:37:10              Desc Main
                                  Document     Page 8 of 17



34.   All conditions precedent to Plaintiff’s claims herein against Defendants have occurred or

      been satisfied.

                                 IV.    CAUSES OF ACTION

A.    Count 1 - Theft-Civil Liability Act

35.   Plaintiff realleges and incorporate the facts and allegations set forth above as if they were

      fully set forth herein.

36.   Under the Texas Theft Liability Act, an individual who commits theft is liable for the

      damages resulting from the theft. Tex. Civ. Prac. & Rem. Code Ann. §§ 134.001-.005.

      Theft is defined as “unlawfully appropriating property or unlawfully obtaining services.”

37.   Defendants’ actions constitute theft as that term is defined in the Texas Theft Liability Act,

      Texas Civil Practice & Remedies Code, Chapter 134. Defendants were in control of

      Plaintiff’s monies and Defendants wrongfully diverted funds belonging to Plaintiff.

38.   Pleading further and in the alternative, if necessary, Defendants unlawfully appropriated

      Plaintiff’s monies and kept possession of funds rightfully belonging to Plaintiff’s for

      Defendants’ own personal gain and unjust enrichment.

39.   Defendants’ theft proximately caused injury to Plaintiff within the Court’s jurisdiction.

B.    Count 2 – Conversion

40.   Plaintiff realleges and incorporates the facts and allegations set forth above as if they were

      fully set forth herein.

41.   Plaintiff owned, possessed, or had right to immediate possession of certain monies. The

      property converted was personal property. This property is the sole and exclusive property

      of Plaintiff. Plaintiff had an exclusive right to possession and distribution of such property,

      which is valuable to Plaintiff and vital to its continued business operations.




PLAINTIFF’S ORIGINAL COMPLAINT – Page 8
  Case 21-41120      Doc 27      Filed 11/01/21 Entered 11/01/21 23:37:10               Desc Main
                                  Document     Page 9 of 17



42.   Defendants wrongfully exercised dominion and control over the Plaintiff’s property.

43.   Defendants wrongfully, intentionally and willfully stole or exercised unlawful possession

      over Plaintiff’s monies. Defendants failed to pay subcontractors and instead

      misappropriated Plaintiff’s money for the Defendants’ own use and benefit to unjustly

      enrich themselves to the detriment of Plaintiff.

44.   Allowing Defendants to retain the benefits received as a result of their wrongful acts would

      unjustly benefit Defendants at Plaintiff’s expense.

45.   As a direct and proximate result of Defendants’ actions, Plaintiff has lost, and will continue

      to lose monies to which Plaintiff owns and is entitled to in an amount to be determined at

      trial. Defendants’ wrongful conduct was a substantial factor in causing this harm.

46.   Plaintiff has suffered injury as a result of Defendants’ conduct for which Plaintiff now

      brings this suit. Plaintiff seeks recovery of its actual and consequential damages, costs,

      interest, and exemplary damages.

47.   Plaintiff is entitled to an award of the value of the property taken, with interest, and other

      damages in an amount to be proven at trial.

48.   In addition, or in the alternative, Plaintiff is entitled to restitution of Defendants’ ill-gotten

      gains. Plaintiff will seek its election of remedies at trial.

C.    Count 3 – Unjust Enrichment/Money Had and Received

49.   Plaintiff realleges and incorporates the facts and allegations set forth above as if they were

      fully set forth herein.

50.   Defendants obtained and held money which in equity and good conscience belongs to

      Plaintiff.




PLAINTIFF’S ORIGINAL COMPLAINT – Page 9
  Case 21-41120      Doc 27     Filed 11/01/21 Entered 11/01/21 23:37:10             Desc Main
                                Document      Page 10 of 17



51.   Defendant unjustly received benefits at the expense of Plaintiff through their wrongful

      conduct, including Defendants’ interference with Plaintiff’s business relationships and

      other unfair business practices.

52.   Defendants continue to unjustly retain these benefits at the expense of Plaintiff. It would

      be unjust and inequitable for Defendants to retain any value or benefit they obtained as a

      result of their wrongful conduct. Plaintiff is entitled to full restitution of all amounts in

      which Defendants have been unjustly enriched at Plaintiff’s expense.

D.    Count 4 - Fraud, Fraud by Concealment, Fraud through Misrepresentation, and
      Fraud by Non-Disclosure

53.   Plaintiff realleges and incorporates the facts and allegations set forth above as if they were

      fully set forth herein.

54.   By reason of Plaintiff’s reliance on false representations and fraudulent concealment of

      material facts by Defendants, Plaintiff has been damaged in an amount within the

      jurisdictional limits of this Court. Defendants have employed a scheme and common course

      on conduct to defraud Plaintiff. The misrepresentations and concealment of facts by

      Defendants were material.

55.   Defendants knew the misrepresentations and concealment of facts were false.

      Alternatively, Defendants acted with reckless disregard as to whether the representations

      to Plaintiff were true.

56.   Plaintiff relied upon the misrepresentations and concealment of facts by Defendants.

57.   Plaintiff’s reliance on these representations and concealment of facts by Defendants was

      reasonable and justifiable. Plaintiff has suffered, and continue to suffer, economic and non-

      economic losses because of the wrongful conduct of Defendants.




PLAINTIFF’S ORIGINAL COMPLAINT – Page 10
  Case 21-41120      Doc 27     Filed 11/01/21 Entered 11/01/21 23:37:10             Desc Main
                                Document      Page 11 of 17



58.   Defendants’ fraudulent acts or omissions have proximately caused damages to Plaintiff,

      for which Plaintiff now sues for damages, including but not limited to recovery of all actual

      damages sustained plus all reasonable and necessary attorneys’ fees incurred in the

      prosecution of this claim, prejudgment and postjudgment interest at the highest lawful

      rates, and all taxable costs of court, and exemplary damages.

59.   Moreover, the Court may impose a constructive trust on proceeds, funds, or property

      obtained as a result of fraud. Plaintiff requests the Court to impose a constructive trust on

      Defendants’ assets.

E.    Count 5 - Civil Conspiracy and Aiding and Abetting

60.   Plaintiff realleges and incorporates the facts and allegations set forth above as if they were

      fully set forth herein.

61.   Each Defendant was a member of a combination of two (2) or more persons or business

      entities. The object of the combination was to accomplish an unlawful purpose namely to

      divert, convert and/or wrongfully take Plaintiff’s monies and to defraud Plaintiff for the

      unlawful and unjust enrichment of Defendants.

62.   Defendants, as members of such combination, had a meeting of the minds on the object or

      course of action. At least one of the Defendants committed an unlawful, overt act to further

      the course of action. And Defendants willfully, intentionally, and knowingly agreed and

      conspired with each other to engage in the alleged wrongful conduct.

63.   Pleading further and the alternative, if necessary, Defendants, acting separately and in

      combination with GWise, undertook the fraudulent scheme detailed herein to unlawfully

      and unjustly obtain money from Plaintiff under the false pretenses that such money was

      required to pay subcontractors or buy materials, when in reality Defendants were diverting




PLAINTIFF’S ORIGINAL COMPLAINT – Page 11
  Case 21-41120        Doc 27   Filed 11/01/21 Entered 11/01/21 23:37:10          Desc Main
                                Document      Page 12 of 17



      such money from GWise to themselves to pay for their opulent lifestyles and the purchase

      of a luxury home.

64.   Such conduct and money transfers were undertaken by Defendants with an actual intent to

      hinder, delay, or defraud creditors of GWise and/or Defendants in violation of the Texas

      Uniform Fraudulent Transfer Act, Chapter 24 of the Texas Business & Commerce Code

      (“TUFTA”).

65.   Pursuant to Section 24.005(a) of the TUFTA, the transfers in question were fraudulent

      because Defendants and GWise made such transfers (1) with actual intent to hinder, delay,

      or defraud their creditors or (2) without receiving a reasonably equivalent value in

      exchange for the transfers, and engaging in such transfers that resulted in GWise’s

      remaining assets to be unreasonably small in relation to the transactions in question.

      Alternatively, GWise incurred or reasonably believed it would incur debts that it would not

      be able to repay or the transfers were made to Defendants –insiders of GWise – while it

      was insolvent.

66.   As a direct and proximate result of the acts in furtherance of the conspiracy between

      Defendants and GWise, Plaintiff suffered injury, damage, loss, and harm, for which

      Plaintiff now brings this suit.

67.   Defendants’ intentional agreement to commit, and commission of, these wrongful acts

      were willful, malicious, oppressive, and in conscious disregard of Plaintiff’s rights, and

      Plaintiff is therefore entitled to an award of punitive damages to punish Defendants for

      their wrongful conduct and deter future wrongful conduct.

F.    Count 6 - Accounting




PLAINTIFF’S ORIGINAL COMPLAINT – Page 12
     Case 21-41120      Doc 27     Filed 11/01/21 Entered 11/01/21 23:37:10             Desc Main
                                   Document      Page 13 of 17



68.      Plaintiff realleges and incorporates the facts and allegations set forth above as if they were

         fully set forth herein.

69.      Defendants have obtained Plaintiff’s monies and failed to pay subcontractors. The exact

         amount of money due from Defendants to Plaintiff is unknown to Plaintiff and cannot be

         ascertained without an accounting of the income Defendants have obtained through their

         wrongful and unlawful conduct described herein. Plaintiff is entitled to a full accounting

         of the monies received by Defendant and/or business under Defendants’ control.

G.       Count 7 - Exemplary Damages

70.      Plaintiff realleges and incorporates the facts and allegations set forth above as if they were

         fully set forth herein.

71.      Defendants’ actions and/or omissions, as complained of herein, were committed

         knowingly, willfully, intentionally, with actual awareness, or with actual malice. In order

         to punish Defendants for such unconscionable overreaching acts and to deter such actions

         and/or omission in the future, Plaintiff seeks recovery from Defendants of exemplary

         damages as provided by Chapter 41 of the Texas Civil Practice and Remedies Code.

H.       Count 8 – Attorney’s Fees

72.      Plaintiff realleges and incorporates the facts and allegations set forth above as if they were

         fully set forth herein.

73.      In accordance with the Texas Civil Practices & Remedies Code, TUFTA, and the Texas

         Theft Liability Act, Plaintiff is entitled to judgment against Defendants for Plaintiff’s

         reasonable attorney’s fees incurred in prosecuting this action through final appeal.

I.       Count 9 – Request for Declaratory Judgment




PLAINTIFF’S ORIGINAL COMPLAINT – Page 13
     Case 21-41120        Doc 27   Filed 11/01/21 Entered 11/01/21 23:37:10             Desc Main
                                   Document      Page 14 of 17



74.      Plaintiff realleges and incorporates the facts and allegations set forth above as if they were

         fully set forth herein.

75.      Pursuant to 28 U.S.C. §§ 2201, 2202, Plaintiff seeks declaratory judgment to resolve an

         existing controversy concerning the parties’ respective rights and obligations regarding the

         Defendant’s Property. Defendants have taken the position in the underlying bankruptcy

         proceeding that the Defendant’s Property is an exempt asset and Defendants are seeking to

         avoid and cancel any judgment lien arising from the judgment Patriot Concrete obtained

         against Greg Wisner.

76.      Plaintiff has shown herein that the Defendant’s Property was obtained through ill-gotten

         gains received by Defendants through their fraudulent and unlawful scheme set forth in

         detail herein.

77.      Given the controversy between the parties regarding their respective rights and obligations

         concerning the exempt status of the Defendant’s Property, Plaintiff seeks declaratory

         judgment that Defendant’s Property is not an exempt asset and, therefore, Defendants are

         not entitled to avoid or cancel any judgment liens against such property.

J.       Discovery Rule/Fraudulent Concealment Doctrine

78.      Plaintiff did not discover that Defendants had engaged in the false, misleading, or deceptive

         acts or practices set forth above until long after their improper conduct began. Also,

         Plaintiff could not have, in the exercise of reasonable diligence, have discovered such

         deceptive and fraudulent actions sooner.

79.      Defendants’ false, misleading or deceptive acts or practices related to a variety of complex

         legal and/or accounting issues, which were well beyond the knowledge and understanding

         of Plaintiff.




PLAINTIFF’S ORIGINAL COMPLAINT – Page 14
  Case 21-41120      Doc 27       Filed 11/01/21 Entered 11/01/21 23:37:10           Desc Main
                                  Document      Page 15 of 17



80.   In addition, Defendants fraudulently concealed their wrongdoing from Plaintiff. Despite

      having actual knowledge that they had engaged in false, misleading, or deceptive acts or

      practices, Defendants concealed their wrongdoing from Plaintiff by making

      misrepresentations and/or by remaining silent when they had a duty to disclose such

      wrongdoings to Plaintiff.

                              V.      PLAINTIFF’S DAMAGES

81.   As a direct and proximate result of the acts and/or omissions of the Defendants as described

      herein above, Plaintiff sustained damaged within the jurisdictional limits of this Court.

      Such damages include massive financial losses that Plaintiff incurred as a result of

      Defendants’ scheme to misappropriating hundreds of thousands of dollars from Plaintiff

      which should have been paid to GWise subcontractors and applied toward completion of

      the Melissa Project and the Rowlett Project, but which were instead wrongfully diverted to

      unjustly enrich the Defendants.

82.   On the Rowlett Project, Plaintiff paid approximately $1.15 Million to GWise and

      Defendants toward a project that was supposed to cost a total of approximately $1.375

      Million to complete. Instead, Plaintiff is left having to pay other contractors who were hired

      to replace GWise and Defendants on the project an additional $1.2 Million to complete the

      Rowlett Project.

83.   On the Melissa Project, Plaintiff paid approximately $800,000 to GWise and Defendants

      toward a project that was supposed to cost a total of approximately $1.4 Million to

      complete. Instead, Plaintiff is left having to pay other contractors who were hired to replace

      GWise and Defendants on the project an additional $1.7 Million to complete the Melissa

      Project.




PLAINTIFF’S ORIGINAL COMPLAINT – Page 15
  Case 21-41120       Doc 27     Filed 11/01/21 Entered 11/01/21 23:37:10            Desc Main
                                 Document      Page 16 of 17



84.    All of these costs increases and overruns incurred by Plaintiff are a direct and proximate

       result of Defendants’ conduct described herein and constitute Plaintiff’s economic

       damages, along with monthly interest charges that Plaintiff is incurring on both projects

       that would not otherwise have been incurred.

85.    Plaintiff brings suit against Defendants to recover all of Plaintiff’s economic damages.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff Ballout Real Estate, LLC

respectfully requests that, upon final hearing of this matter, Plaintiff be awarded judgment against

Defendants for the following relief:

       1.      Plaintiff’s actual damages;

       2.      Plaintiff’s reasonable and necessary attorney’s fees;

       3.      Exemplary damages pursuant to Chapter 41 of the Texas Civil Practice and
               Remedies Code;

       4.      Pre-judgment and post-judgment interest at the maximum rates allowed by law;

       5.      Declaratory judgment as requested herein; and

        6.     Such other and further relief, at law or in equity, to which Plaintiff may be justly
entitled.




PLAINTIFF’S ORIGINAL COMPLAINT – Page 16
  Case 21-41120      Doc 27     Filed 11/01/21 Entered 11/01/21 23:37:10           Desc Main
                                Document      Page 17 of 17



                                            Respectfully submitted,

                                            LITTLE & McCOOL, P.C.

                                       By: /s/ William C. Little
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                                           Email: bill@littlemccool.com

                                            ATTORNEYS FOR PLAINTIFF
                                            BALLOUT REAL ESTATE, LLC



                                CERTIFICATE OF SERVICE

        The undersigned counsel certifies that the foregoing instrument was served on all parties
of record through their counsel via the Court’s electronic filing system on November 1, 2021.

                                            /s/ William C. Little




PLAINTIFF’S ORIGINAL COMPLAINT – Page 17
